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                             UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

  IN RE:                                            §
                                                    §
  CHAD MICHAEL ANDERS and                           §                CASE NO. 20-51985
  LAUREN ROSE SAN MIGUEL                            §
                                                    §
  DEBTORS.                                          §                 CHAPTER 7

           NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE of the appearance of Ryan P. Dunn of DUNN PLLC as
  counsel for PeopleFund, creditor in the above referenced bankruptcy case, who requests notice,
  whether electronically or otherwise, of all matters “noticed” and copies of all pleadings in these
  proceedings pursuant to the provisions of Rules 2002, 3017(a) and 9010(b) of the Rules of
  Bankruptcy Procedure.

           Notices should be sent to:

                                              Ryan P. Dunn
                                              DUNN PLLC
                                        405 Main Street, Suite 836
                                           Houston, TX 77002
                                         Telephone: 713.904.3866
                                         Facsimile: 713.583.6736
                                           ryan@dunnpllc.com

  Date: January 15, 2021

                                                        Respectfully submitted,

                                                          /s/ Ryan P. Dunn
                                                        Ryan P. Dunn
                                                        Texas Bar No. 24056749
                                                        DUNN PLLC
                                                        405 Main Street, Suite 836
                                                        Houston, TX 77002
                                                        Telephone: 713.904.3866
                                                        Facsimile: 713.583.6736
                                                        ryan@dunnpllc.com

                                                        COUNSEL FOR PEOPLEFUND
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                                 CERTIFICATE OF SERVICE

          I, Ryan Dunn, hereby certify that a true and correct copy of the above and foregoing
  Notice of Appearance and Request for Service of Papers has been sent to all interested parties
  registered for electronic service with the U. S. Bankruptcy Clerk's Office on or about the time
  this document was electronically filed with the Clerk on this 15th day of January, 2021 and
  mailed by United States First Class Mail to any party listed below that is not registered.

                                                   /s/ Ryan P. Dunn
                                                  Ryan P. Dunn

  DEBTORS (Via First Class Mail)
  Chad Michael Anders and Lauren Rose San Miguel
  213 Little Wichita
  Cibolo, Texas 78108

  DEBTORS’ ATTORNEY (Via Electronic Service)
  J. Todd Malaise
  909 NE Loop 410, Suite 300
  San Antonio, Texas 78209

  TRUSTEE (Via Electronic Service)
  Johnny W Thomas
  johnnywthomas.trusteblogs.com
  St Paul Square 1153 E Commerce
  San Antonio, Texas 78205
